                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                   CIVIL ACTION NO. 1:09-CR-00017-GCM-WCM
 UNITED STATES,

                Plaintiff,

    v.                                                            ORDER

 ALBERT CHARLES BURGESS,

                Defendant.


         THIS MATTER COMES before this Court on the Court’s own motion. Defendant Albert

Charles Burgess filed a Motion for Compassionate Release/Reduction of Sentence (Doc. No. 389)

and another Motion for Compassionate Release/Reduction of Sentence (Doc. No. 391). The Court

instructs the Government to respond to those Motions within thirty (30) days of entry of this Order.

         SO ORDERED.




                                       Signed: January 12, 2021




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